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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
IN RE GEORGIA SENATE BILL 202                      Master Case No.:
                                                   1:21-MI-55555-JPB
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                Civil Action No.: 1:21-
                                                   cv-01284-JPB
                         Plaintiffs,
                  v.
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                     Civil Action No.:
                                                   1:21-cv-01259-JPB
                         Plaintiffs,
                  v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of State
for theState of Georgia, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.


AME & GEORGIA NAACP PLAINTIFFS’ RENEWED MOTION FOR A
              PRELIMINARY INJUNCTION

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      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs in the

above-captioned cases respectfully renew their motion for an Order enjoining

Defendants in the above-captioned cases from enforcing—during the 2024

elections and until any final relief in the case is granted—the provisions of

O.C.G.A. § 21-2-414(a) that impose criminal penalties on those who “give, offer to

give, or participate in the giving” of items including food and drink, to an elector

“[w]ithin 25 feet of any voter standing in line to vote at any polling place” (the

“Supplemental Zone”). Plaintiffs maintain the portion of their First Amendment

claim as to the zone within 150 feet from the outer edge of any polling place

building, but they do not seek relief against that portion of the statute for purposes

of this Motion and seek preliminary relief as to the Supplemental Zone only.

      For the reasons set forth in detail in Plaintiffs’ accompanying Brief in

Support of Plaintiffs’ Renewed Motion for Preliminary Injunction and

accompanying evidentiary support—and incorporating by reference their factual

evidence and briefing from their initial preliminary injunction motion, see ECF

Nos. 171, 171-1–27, 216, 216-1–5—Plaintiffs have established that they are highly

likely to succeed on the merits of their claim that this criminal ban within 25 feet

of any voter no matter the distance from the polling place entrance violates the

First Amendment. It does so by restricting their ability to engage in core expressive

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conduct without justification. Enforcing this law during the 2024 elections and

until any final relief is ordered in this action would irreparably harm Plaintiffs and

other similar organizations across the State; the balance of equities weighs in

Plaintiffs’ favor; and a preliminary injunction is in the public interest.

      Plaintiffs do not request a hearing on this motion.

Respectfully submitted, this 24th day of April, 2023.


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Development Fund, Inc., Common
Cause, and Lower Muskogee Creek
Tribe




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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, using font type

of Times New Roman and a point size of 14.


Dated: April 24, 2023                   /s/ Davin M. Rosborough
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                          CERTIFICATE OF SERVICE
      I hereby certify that on April 24, 2023, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.


Dated: April 24, 2023                   /s/ Davin M. Rosborough
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